 Case 8:20-cv-01842-JSM-AAS Document 1 Filed 08/07/20 Page 1 of 17 PageID 1




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA

                                            CASE NO.

WANDA KOEHN,

       Plaintiff,

vs.

FEET FIRST TAMPA, INC.,
a Florida for-profit corporation,

      Defendant.
_____________________________/

                                          COMPLAINT

       Plaintiff WANDA KOEHN, through undersigned counsel, sues Defendant FEET FIRST

TAMPA, INC., a Florida for-profit corporation, and alleges as follows:

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R.

Part 36. This is also an action for declaratory and injunctive relief to prevent discrimination which

includes equal access to an internet website for services to order merchandise and secure

information about Defendant’s stores online.

       2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

U.S.C. §1331 and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief

pursuant to 28 U.S.C. §§2201 and 2202.

       3.      Venue is proper in this Court as all actions complained of herein and injuries and

damages suffered occurred in the Middle District of Florida.
 Case 8:20-cv-01842-JSM-AAS Document 1 Filed 08/07/20 Page 2 of 17 PageID 2




       4.      Plaintiff WANDA KOEHN is a resident of Hillsborough County, Florida, is sui

juris, and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C.

§12101 (“ADAAA”).

       5.      Plaintiff is and at all relevant times has been visually disabled and suffers from

diabetic retinopathy and macular degeneration, a permanent eye disease and medical condition

that substantially and significantly impairs her vision. Plaintiff thus is substantially limited in

performing one or more major life activities, including, but not limited to, seeing, accurately

visualizing her world, and adequately traversing obstacles. As such, she is a member of a protected

class under the ADA, 42 U.S.C. §12102(1)-(2), the regulations implementing the ADA set forth

at 28 CFR §§36.101, et seq., and in 42 U.S.C. §3602(h).

       6.      Because she is visually disabled, Plaintiff cannot use her computer without the

assistance of appropriate and available screen reader software.

       7.      Defendant is a Florida for-profit corporation authorized to do business and doing

business in the State of Florida. Defendant owns and operates stores that sells women’s and men’s

footwear and accessories to the public. including the store Plaintiff intended to patronize at 3401

Bay to Bay Blvd, Tampa, Florida.

       8.      Plaintiff’s visual disability limits her in the performance of major life activities,

including sight, and she requires assistive technologies, auxiliary aids and services for effective

communication, including communication in connection with her use of a computer.

       9.      Plaintiff frequently accesses the internet.     Because she is significantly and

permanently visually disabled, in order to effectively communicate and comprehend information

available on the internet and hereby access/comprehend websites, Plaintiff uses commercially

available screen reader software to interface with the various websites.



                                                 2
 Case 8:20-cv-01842-JSM-AAS Document 1 Filed 08/07/20 Page 3 of 17 PageID 3




       10.     At all times material hereto, Defendant was and still is an organization that owns

and operates women’s and men’s footwear and accessories stores under the name “Feet First”.

The Feet First stores are open to the public. As the owner and operator of these retail stores,

Defendant is defined as a place of “public accommodation" within meaning of Title III because

Defendant is a private entity which owns and/or operates “[A] bakery, grocery store, restaurant,

clothing store, hardware store, shopping center, or other sales or rental establishment,” per 42

U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(2).

       11.     Because Defendant is a store open to the public, each of Defendant’s physical stores

is a place of public accommodation subject to the requirements of Title III of the ADA and its

implementing regulation; 42 U.S.C. §12182, §12181(7)(E), and 28 C.F.R. Part 36.

       12.     Defendant controls, maintains, and/or operates an adjunct website called

http://feetfirstrunning.com (hereinafter the “Website”). One of the functions of the Website is to

provide the public information on the locations of Defendant’s stores that sell its merchandise

throughout the United States and within the State of Florida. Defendant also sells to the public its

merchandise and goods through the Website.

       13.     The Website also services Defendant’s physical stores by providing information on

the available products and merchandise, tips and advice, editorials, sales campaigns, events, and

other information that Defendant is interested in communicating to its customers.

       14.     Because the Website allows the public the ability to locate Defendant’s physical

stores, purchase merchandise from Defendant that is also available for purchase in its physical

stores, and sign up for an electronic emailer to receive offers, benefits, exclusive invitations, and

discounts for use in the physical stores, the Website is an extension of, and gateway to, Defendant’s

physical store. By this nexus, the Website is characterized as an intangible service, privilege, and



                                                 3
 Case 8:20-cv-01842-JSM-AAS Document 1 Filed 08/07/20 Page 4 of 17 PageID 4




advantage provided by a place of public accommodation as defined under the ADA and thus an

extension of the services, privileges and advantages made available to the general public by

Defendant through its brick and mortar locations and businesses.

       15.     Because the public can view and purchase Defendant’s merchandise that is also

offered for sale by Defendant in its physical stores and sign up for an electronic emailer to receive

offers, benefits, exclusive invitations, and discounts for use in the physical stores, the Website is

an extension of, and gateway to, the physical stores, which are places of public accommodation

pursuant to the ADA, 42 U.S.C. §12181(7)(E). As such, the Website is an intangible service,

privilege, and advantage of Defendant’s brick and mortar store locations that must comply with

all requirements of the ADA, must not discriminate against individuals with visual disabilities, and

must not deny those individuals the same full and equal enjoyment of the services, privileges, and

advantages afforded to the non-disabled general public both online and in its physical stores.

       16.     At all times material hereto, Defendant was and still is an organization owning and

operating the Website. Since the Website is open to the public through the internet, by this nexus

the Website is an intangible service, privilege, and advantage of Defendant’s brick and mortar

stores that must comply with all requirements of the ADA, must not discriminate against

individuals with visual disabilities, and must not deny those individuals the full and equal

enjoyment of the services, privileges, and advantages afforded to the non-disabled public both

online and at the physical stores. As such, Defendant has subjected itself and the Website to the

requirements of the ADA.

       17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

patronize once the Website’s access barriers are removed or remedied, Defendant’s physical stores

(including the store located at 3401 Bay to Bay Blvd, Tampa, Florida), and to check store hours



                                                 4
 Case 8:20-cv-01842-JSM-AAS Document 1 Filed 08/07/20 Page 5 of 17 PageID 5




and merchandise pricing, purchase merchandise, and sign up for an electronic emailer to receive

offers, benefits, exclusive invitations, and discounts for use at the Website or in Defendant’s

physical stores.

       18.     The opportunity to shop and pre-shop Defendant’s merchandise and sign up for an

electronic emailer to receive offers, benefits, exclusive invitations, and discounts for use in the

physical stores from her home are important accommodations for Plaintiff because traveling

outside of her home as a visually disabled individual is often difficult, hazardous, frightening,

frustrating and confusing experience. Defendant has not provided its business information in any

other digital format that is accessible for use by blind and visually impaired individuals using the

screen reader software.

       19.     Like many consumers, Plaintiff accesses numerous websites at a time to compare

merchandise, prices, sales, discounts, and promotions. Plaintiff may look at several dozens of sites

to compare features, discounts, promotions, and prices.

       20.     During the month of January 2020, Plaintiff attempted on a number of occasions to

utilize the Website to browse through the merchandise and online offers and to educate herself as

to the merchandise, sales, discounts, and promotions being offered, with the intent of making a

purchase through the Website or at one of Defendant’s stores.

       21.     Plaintiff utilizes screen reader software that allows individuals who are visually

disabled to communicate with websites. However, the Website contains access barriers that

prevent its free and full use by visually disabled individuals using keyboards and available screen

reader software. These barriers are pervasive and include, but are not limited to, the following:

       a. Links mislabeled;

       b. Site functions like menu items not labeled to integrate with the screen reader;



                                                 5
 Case 8:20-cv-01842-JSM-AAS Document 1 Filed 08/07/20 Page 6 of 17 PageID 6




       c. Mislabeled descriptions for image content; and

       d. Site elements like slider not labeled to integrate with the screen reader.

       22.     The Website also lacks prompting information and accommodations necessary to

allow visually disabled individuals who use screen reader software to locate and accurately fill out

online forms to purchase Defendant’s merchandise from the Website.

       23.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

Website that would direct her to a webpage with contact information for disabled individuals who

have questions or concerns about, or who are having difficulties communicating with, the Website.

However, Plaintiff was unable to do so because no such link or notice was on the Website.

       24.     The fact that Plaintiff could not communicate with or within the Website left her

feeling excluded as she is unable to participate in the same online computer shopping experience,

with access to the merchandise, sales, discounts, and promotions as provided at the Website and

for use in the physical stores as the non-visually disabled public.

       25.     Plaintiff desires and intends, in the near future once the Website’s access barriers

as described herein are removed or remedied, to patronize Defendant’s physical stores and to use

the Website, but she is unable to fully do so as she is unable to effectively communicate with

Defendant due to her severe visual disability and the Website’s access barriers. Thus, Plaintiff, as

well as others who are blind or with visual disabilities, will suffer continuous and ongoing harm

from Defendant’s intentional acts, omissions, policies, and practices as set forth herein unless

properly enjoined by this Court.

       26.     Because of the nexus between Defendant’s retail stores and the Website, and the

fact that the Website clearly provides support and is connected to Defendant’s retail stores for its

operation and use, the Website is an intangible service, privilege, and an advantage of Defendant’s



                                                 6
 Case 8:20-cv-01842-JSM-AAS Document 1 Filed 08/07/20 Page 7 of 17 PageID 7




brick and mortar stores that must comply with all requirements of the ADA, must not discriminate

against individuals with disabilities, and must not deny those individuals the same full and equal

enjoyment of the services, privileges and advantages afforded to the non-disabled public both

online and at its physical locations, which are places of public accommodations subject to the

requirements of the ADA.

        27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

to ensure full and equal use of the Website by individuals with disabilities.

        28.     On information and belief, Defendant has not instituted a Web Accessibility

Committee to ensure full and equal use of Website by individuals with disabilities.

        29.     On information and belief, Defendant has not designated an employee as a Web

Accessibility Coordinator to ensure full and equal use of the Website by individuals with

disabilities.

        30.     On information and belief, Defendant has not instituted a Web Accessibility User

Accessibility Testing Group to ensure full and equal use of the Website by individuals with

disabilities.

        31.     On information and belief, Defendant has not instituted a User Accessibility

Testing Group to ensure full and equal use of the Website by individuals with disabilities.

        32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

        33.     On information and belief, Defendant has not instituted an Automated Web

Accessibility Testing program.

        34.     On information and belief, Defendant has not created and instituted a Specialized

Customer Assistance line or service or email contact mode for customer assistance for the visually

disabled.



                                                 7
 Case 8:20-cv-01842-JSM-AAS Document 1 Filed 08/07/20 Page 8 of 17 PageID 8




       35.     On information and belief, Defendant has not created and instituted on the Website

a page for individuals with disabilities, nor displayed a link and information hotline, nor created

an information portal explaining when and how Defendant will have the Website, applications,

and digital assets accessible to the visually disabled or blind community.

       36.     On information and belief, the Website does not meet the Web Content

Accessibility Guidelines (“WCAG”) 2.0 Level AA or higher versions of web accessibility.

       37.     On information and belief, Defendant has not disclosed to the public any intended

audits, changes, or lawsuits to correct the inaccessibility of the Website to visually disabled

individuals who want the safety and privacy of purchasing Defendant’s merchandise offered on

the Website online from their homes.

       38.     Thus, Defendant has not provided full and equal enjoyment of the services,

facilities, privileges, advantages, and accommodations provided by and through the Website, in

contravention of the ADA.

       39.     Further, public accommodations under the ADA must ensure that their places of

public accommodation provide effective communication for all members of the general public,

including individuals with disabilities such as Plaintiff.

       40.     The broad mandate of the ADA is to provide an equal opportunity for individuals

with disabilities to participate in and benefit from all aspects of American civic and economic life.

That mandate extends to internet shopping websites, such as the Website.

       41.     On information and belief, Defendant is, and at all times has been, aware of the

barriers to effective communication within the Website which prevent individuals with disabilities

who are visually disabled from the means to comprehend information presented therein.




                                                  8
 Case 8:20-cv-01842-JSM-AAS Document 1 Filed 08/07/20 Page 9 of 17 PageID 9




        42.     On information and belief, Defendant is aware of the need to provide full access to

all visitors to the Website.

        43.     The barriers that exist on the Website result in discriminatory and unequal

treatment of individuals with disabilities who are visually disabled, including Plaintiff.

        44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

alleged hereinabove, and this suit for declaratory judgment and injunctive relief is her only means

to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

in connection with its website access and operation.

        45.     Notice to Defendant is not required because of Defendant’s failure to cure the

violations.

        46.     Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

U.S.C. §§2201 and 2202.

        47.     Plaintiff has retained the undersigned attorneys to represent her in this case, and has

agreed to pay them a reasonable fee for their services.

                               COUNT I – VIOLATION OF THE ADA

        48.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.

        49.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

the ADA because it owns and/or operates the Website, as defined within §12181(7)(E) and is

subject to the ADA.

        50.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

because it provides the general public with the ability to locate Defendant’s retail stores, purchase

merchandise that is also available for purchase in the retail stores, and sign up for an electronic

emailer to receive offers, benefits, exclusive invitations, and discounts for use at the retail stores.



                                                  9
Case 8:20-cv-01842-JSM-AAS Document 1 Filed 08/07/20 Page 10 of 17 PageID 10




The Website thus is an extension of, gateway to, and intangible service, privilege and advantage

of Defendant’s physical stores. Further, the Website also serves to augment Defendant’s physical

stores by providing the public information on the store location and by educating the public as to

Defendant’s available merchandise sold through the Website and in its physical stores.

       51.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

discrimination to deny individuals with disabilities or a class of individuals with disabilities an

opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

or accommodation, which is equal to the opportunities afforded to other individuals.

       52.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

discrimination includes, among other things, “a failure to make reasonable modifications in

policies, practices, or procedures, when such modifications are necessary to afford such goods,

services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

unless the entity can demonstrate that making such modifications would fundamentally alter the

nature of such goods, services, facilities, privileges, advantages or accommodations.”

       53.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

discrimination includes, among other things, “a failure to take such steps as may be necessary to

ensure that no individual with a disability is excluded, denied services, segregated or otherwise

treated differently than other individuals because of the absence of auxiliary aids and services,

unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

the good, service, facility, privilege, advantage, or accommodation being offered or would result

in an undue burden.”

       54.     Defendant’s Website must comply with the ADA, but it does not, as specifically

alleged hereinabove and below.



                                                 10
Case 8:20-cv-01842-JSM-AAS Document 1 Filed 08/07/20 Page 11 of 17 PageID 11




       55.     Because of the inaccessibility of the Website, individuals with disabilities who are

visually disabled are denied full and equal enjoyment of the information and services that

Defendant has made available to the public on its Website, and at its physical stores, in violation

of 42 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.

       56.     The Website was subsequently visited by Plaintiff’s expert in March 2020 and July

2020, and the expert determination was that the same access barriers that Plaintiff had initially

encountered, as well as numerous additional access barriers, existed and that Defendant had made

no material changes or improvements to the Website to enable its full use, enjoyment, and

accessibility for visually disabled persons such as Plaintiff. Despite having received a written

demand from Plaintiff in March 2020 for remediation of the Webiste, Defendant still has not

adequately remedied the Website’s access barriers to make it fully accessible to blind and visually

disabled persons such as Plaintiff. Defendant also has not posted on the Webiste an effective

“accessibility” notice, statement, or policy, and has not disclosed to the public any intended audits,

changes, or lawsuits to correct the inaccessibility of the Website to visually disabled individuals.

Defendant, thus, has failed to make reasonable modifications in its policies, practices, or

procedures, when such modifications are necessary to afford goods, services, facilities, privileges,

advantages, or accommodations to individuals with disabilities, in violation of 28 C.F.R. §36.302.

The absence of a viable and effective “accessibility” notice, policy, or statement and the numerous

access barriers as set forth in the Declaration of Plaintiff’s expert, Robert D. Moody, which is

attached hereto as Composite Exhibit “A” and the contents of which are incorporated herein by

reference, continue to render the Website not fully accessible to users who are blind and visually

disabled, including Plaintiff.




                                                 11
Case 8:20-cv-01842-JSM-AAS Document 1 Filed 08/07/20 Page 12 of 17 PageID 12




        57.     More violations may be present on other pages of the Website, which can and will

be determined and proven through the discovery process in this case.

        58.     Further, the Website does not offer or include the universal symbol for the disabled

that would permit disabled individuals to access the Website’s accessibility information and

accessibility facts.

        59.     There are readily available, well established guidelines on the internet for making

websites accessible to the blind and visually disabled. These guidelines have been followed by

other large business entities in making their websites accessible. Examples of such guidelines

include, but not limited to, adding alt-text to graphics and ensuring that all functions can be

performed using a keyboard. Incorporating such basic components to make the Website accessible

would neither fundamentally alter the nature of Defendant’s business nor would it result in an

undue burden to the Defendant.

        60.     Defendant has violated the ADA -- and continues to violate the ADA -- by denying

access to the Website by individuals, such as Plaintiff, with visual disabilities who requires the

assistance of interface with screen reader software to comprehend and access internet websites.

These violations within the Website are ongoing.

        61.     The ADA and ADAAA require that public accommodations and places of public

accommodation ensure that communication is effective.

        62.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

text, and video-based telecommunications products and systems”. Indeed, 28 C.F.R. §36.303(b)(2)

specifically states that screen reader software is an effective method of making visually delivered

material available to individuals who are blind or have low vision.




                                                 12
Case 8:20-cv-01842-JSM-AAS Document 1 Filed 08/07/20 Page 13 of 17 PageID 13




       63.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

appropriate auxiliary aids and services where necessary to ensure effective communication with

individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

in accessible formats, in a timely manner, and in such a way as to protect the privacy and

independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

       64.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

public accommodations, and requires places of public accommodation to be designed, constructed,

and altered in compliance with the accessibility standards established by Part 36.

       65.     As alleged hereinabove, the Website has not been designed to interface with the

widely and readily available technologies that can be used to ensure effective communication, and

thus violates the ADA.

       66.     As a direct and proximate result of Defendant’s failure to provide an ADA

compliant Website, with a nexus to its brick and mortar physical store locations, Plaintiff has

suffered an injury in fact by being denied full access to and enjoyment of Defendant’s Website

and physical store.

       67.     Because of the inadequate development and administration of the Website, Plaintiff

is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

ongoing disability discrimination.

       68.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

Plaintiff appropriate and necessary injunctive relief; including an order to:

       a) Require Defendant to adopt and implement a web accessibility policy to make publicly

available and directly link from the homepage of the Website to a statement as to the Defendant’s



                                                 13
Case 8:20-cv-01842-JSM-AAS Document 1 Filed 08/07/20 Page 14 of 17 PageID 14




policy to ensure persons with disabilities have full and equal enjoyment of the services, facilities,

privileges, advantages, and accommodations through the Website.

       b) Require Defendant to take the necessary steps to make the Website readily accessible

to and usable by visually disabled users, and during that time period prior to the Website’s being

readily accessible, to provide an alternative method for individuals with visual disabilities to access

the information available on the Website until such time that the requisite modifications are made,

and

       c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

visual impairments will be able to effectively communicate with the Website for purposes of

viewing and locating Defendant’s physical stores and becoming informed of and purchasing

Defendant’s merchandise online, and during that time period prior to the Website’s being designed

to permit individuals with visual disabilities to effectively communicate, to provide an alternative

method for individuals with visual disabilities to effectively communicate for such goods and

services made available to the general public through the Website.

       69.      Plaintiff is entitled to recover her reasonable attorney’s fees, costs, and expenses

pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

services.

       WHEREFORE, Plaintiff requests entry of judgment in her favor and against Defendant for

the following relief:

       A. A declaration that Defendant’s Website is in violation of the ADA;

       B. An Order requiring Defendant, by a date certain, to update the Website, and continue

             to monitor and update the Website on an ongoing basis, to remove barriers in order that



                                                  14
Case 8:20-cv-01842-JSM-AAS Document 1 Filed 08/07/20 Page 15 of 17 PageID 15




        individuals with visual disabilities can access, and continue to access, the Website and

        effectively communicate with the Website to the full extent required by Title III of the

        ADA;

     C. An Order requiring Defendant, by a date certain, to clearly display the universal

        disabled logo within the Website, wherein the logo1 would lead to a page which would

        state Defendant’s accessibility information, facts, policies, and accommodations. Such

        a clear display of the disabled logo is to ensure that individuals who are disabled are

        aware of the availability of the accessible features of the Website;

     D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

        accessibility by implementing a website accessibility coordinator, a website application

        accessibility policy, and providing for website accessibility feedback to ensure

        compliance thereto;

     E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

        procedures toward persons with disabilities, for such reasonable time to allow

        Defendant to undertake and complete corrective procedures to its Website;

     F. An Order directing Defendant, by a date certain, to establish a policy of web

        accessibility and accessibility features for the Website to ensure effective

        communication for individuals who are visually disabled;

     G. An Order requiring, by a date certain, that any third-party vendors who participate on

        Defendant’s Website to be fully accessible to the visually disabled;




1
                or similar.

                                             15
Case 8:20-cv-01842-JSM-AAS Document 1 Filed 08/07/20 Page 16 of 17 PageID 16




     H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

        provide mandatory web accessibility training to all employees who write or develop

        programs or code for, or who publish final content to, the Website on how to conform

        all web content and services with ADA accessibility requirements and applicable

        accessibility guidelines;

     I. An Order directing Defendant, by a date certain and at least once every three months

        thereafter, to conduct automated accessibility tests of the Website to identify any

        instances where the Website is no longer in conformance with the accessibility

        requirements of the ADA and any applicable accessibility guidelines, and further

        directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

        counsel for review;

     J. An Order directing Defendant, by a date certain, to make publicly available and directly

        link from the Website homepage, a statement of Defendant’s Accessibility Policy to

        ensure the persons with disabilities have full and equal enjoyment of the Website and

        shall accompany the public policy statement with an accessible means of submitting

        accessibility questions and problems;

     K. An award to Plaintiff of her reasonable attorney’s fees, costs and expenses; and

     L. Such other and further relief as the Court deems just and equitable.

     DATED: August 7, 2020.

RODERICK V. HANNAH, ESQ., P.A.                    LAW OFFICE OF PELAYO
Counsel for Plaintiff                             DURAN, P.A.
4800 N. Hiatus Road                               Co-Counsel for Plaintiff
Sunrise, FL 33351                                 4640 N.W. 7th Street
T. 954/362-3800                                   Miami, FL 33126-2309
954/362-3779 (Facsimile)                          T. 305/266-9780
Email: rhannah@rhannahlaw.com                     305/269-8311 (Facsimile)
                                                  Email: duranandassociates@gmail.com


                                             16
Case 8:20-cv-01842-JSM-AAS Document 1 Filed 08/07/20 Page 17 of 17 PageID 17




By____s/ Roderick V. Hannah __            By ___s/ Pelayo M. Duran ______
      RODERICK V. HANNAH                        PELAYO M. DURAN
      Fla. Bar No. 435384                       Fla. Bar No. 0146595




                                     17
